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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

DISPLAY TECHNOLOGIES, LLC,            §
a Texas limited liability company;    §
                                      §
 Plaintiff,                           §                       Case No: 4:21-cv-00988
                                      §
vs.                                   §                       PATENT CASE
                                      §
GREATER GOODS, LLC, a Missouri        §
limited liability company;            §
                                      §
  Defendant.                          §
_____________________________________ §

          DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE

        Pursuant to Local Rule 3-2.09 and Federal Rule of Civil Procedure 7.1, counsel of record
for Plaintiff hereby discloses the following organizational interests:

   1. The Plaintiff, Display Technologies, LLC, is a Texas limited liability company. Its
      member and manager is Patent Asset Management, LLC, a Florida limited liability
      company.


                                           Respectfully submitted,


                                           s/Robert J. Vincze_____
                                           Robert J. Vincze (MO #37687)
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                                           Attorney for Plaintiff
                                           DISPLAY TECHNOLOGIES, LLC

                              CERTIFICATE OF SERVICE

       I certify that on August 7, 2021, I electronically filed the foregoing Disclosure Certificate
with the Clerk of the Court using the CM/ECF system.

                                                      s/Robert J. Vincze
                                                      Robert J. Vincze (MO #37687)
